SDNY CM/ECF NextGen Version 1.7                                                         Page 1 of 27
            Case 23-1039, Document 4, 07/17/2023, 3544119, Page1 of 27



                          Query    Reports     Utilities   Help   What's New     Log Out

                                                                                    ECF,REOPEN

                                 U.S. District Court
                    Southern District of New York (Foley Square)
                  CIVIL DOCKET FOR CASE #: 1:17-cv-06903-RJS


Oakley v. Dolan et al                                      Date Filed: 09/12/2017
Assigned to: Judge Richard J. Sullivan                     Jury Demand: Plaintiff
Cause: 42:12132 Americans with Disabilities Act -          Nature of Suit: 320 Assault Libel &
Discrimination                                             Slander
                                                           Jurisdiction: Federal Question
Plaintiff
Charles Oakley                               represented by Alex Jeffrey Hartzband
                                                            Faruqi & Faruqi, LLP
                                                            685 Third Avenue
                                                            Ste 26th Floor
                                                            New York, NY 10017
                                                            212-983-9330
                                                            Email: ahartzband@faruqilaw.com
                                                            TERMINATED: 01/19/2018

                                                           Kenneth Daniel Walsh
                                                           Wigdor LLP
                                                           85 Fifth Avenue
                                                           5th fl.
                                                           New York, NY 10003
                                                           (212)-257-6800
                                                           Fax: (212)-257-6845
                                                           Email: kwalsh@wigdorlaw.com
                                                           ATTORNEY TO BE NOTICED

                                                           Marjorie Mesidor
                                                           Wigdor LLP
                                                           85 Fifth Avenue
                                                           Fifth Floor
                                                           New York, NY 10003
                                                           212-257-6800
                                                           Email: mmesidor@wigdorlaw.com
                                                           ATTORNEY TO BE NOTICED

                                                           Nelson Andrew Boxer
                                                           Petrillo Klein & Boxer LLP
                                                           655 Third Ave, 22nd Floor
                                                           New York, NY 10017



https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                         7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                    Page 2 of 27
            Case 23-1039, Document 4, 07/17/2023, 3544119, Page2 of 27


                                                          212-370-0338
                                                          Fax: 212-370-0391
                                                          Email: nboxer@pkbllp.com
                                                          ATTORNEY TO BE NOTICED

                                                          Renan F Varghese
                                                          Wigdor LLP
                                                          85 Fifth Avenue
                                                          5th fl.
                                                          New York, NY 10003
                                                          (212) 257-6824
                                                          Fax: (212) 257-6845
                                                          Email: rvarghese@wigdorlaw.com
                                                          ATTORNEY TO BE NOTICED

                                                          Douglas Holden Wigdor
                                                          Wigdor LLP
                                                          85 Fifth Avenue
                                                          5th fl.
                                                          New York, NY 10003
                                                          212-239-9292
                                                          Fax: 212-239-9001
                                                          Email: dwigdor@wigdorlaw.com
                                                          ATTORNEY TO BE NOTICED


V.
Defendant
James Dolan                                 represented by Jim Walden
in his individual capacity                                 Walden Macht & Haran LLP
                                                           250 Vesey
                                                           27th Floor
                                                           New York, NY 10281
                                                           212-335-2031
                                                           Fax: 212-335-2040
                                                           Email: jwalden@wmhlaw.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                          Randy M. Mastro
                                                          Gibson, Dunn & Crutcher, LLP (NY)
                                                          200 Park Avenue
                                                          New York, NY 10166
                                                          212-351-5391
                                                          Fax: 212-351-5328
                                                          Email: rmastro@kslaw.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED




https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                     7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                    Page 3 of 27
            Case 23-1039, Document 4, 07/17/2023, 3544119, Page3 of 27


                                                          Akiva Shapiro
                                                          Gibson, Dunn & Crutcher, LLP
                                                          200 Park Avenue
                                                          New York, NY 10166
                                                          (212) 351-3830
                                                          Fax: (212) 351-4035
                                                          Email: ashapiro@gibsondunn.com
                                                          ATTORNEY TO BE NOTICED

                                                          Declan T. Conroy
                                                          Gibson, Dunn & Crutcher, LLP (NY)
                                                          200 Park Avenue
                                                          New York, NY 10166
                                                          (212)-351-2480
                                                          Fax: (212)-817-9480
                                                          Email: dconroy@gibsondunn.com
                                                          ATTORNEY TO BE NOTICED

                                                          Grace Elizabeth Hart
                                                          Gibson, Dunn & Crutcher, LLP (NY)
                                                          200 Park Avenue
                                                          New York, NY 10166
                                                          212-351-6372
                                                          Email: GHart@gibsondunn.com
                                                          ATTORNEY TO BE NOTICED

                                                          Lauren Kobrick Myers
                                                          King & Spalding LLP
                                                          1185 Avenue of the Americas
                                                          New York, NY 10036
                                                          212-790-5379
                                                          Fax: 212-556-2222
                                                          Email: lmyers@kslaw.com
                                                          ATTORNEY TO BE NOTICED

                                                          Milton L. Williams , Jr
                                                          Walden Macht & Haran LLP
                                                          250 Vesey St
                                                          27th Floor
                                                          New York, NY 10281
                                                          212-335-2030
                                                          Fax: 212-335-2040
                                                          Email: mwilliams@wmhlaw.com
                                                          ATTORNEY TO BE NOTICED

                                                          Sarah L. Kushner
                                                          DOJ-USAO
                                                          1 Saint Andrews Plaza
                                                          New York, NY 10001




https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                      7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                     Page 4 of 27
            Case 23-1039, Document 4, 07/17/2023, 3544119, Page4 of 27


                                                          212-637-2676
                                                          Email: skushner@gibsondunn.com
                                                          TERMINATED: 12/21/2020

Defendant
James Dolan                                 represented by Jim Walden
in his professional capacity                               (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                          Randy M. Mastro
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Akiva Shapiro
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Casey Kyung-Se Lee
                                                          King & Spalding LLP
                                                          1185 Avenue of the Americas
                                                          34th Floor
                                                          New York, NY 10036
                                                          212-556-2284
                                                          Email: clee@kslaw.com
                                                          ATTORNEY TO BE NOTICED

                                                          Declan T. Conroy
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Grace Elizabeth Hart
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Milton L. Williams , Jr
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Sarah L. Kushner
                                                          (See above for address)
                                                          TERMINATED: 12/21/2020

Defendant
MSG Networks, Inc.                          represented by Jim Walden
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED



https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                      7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                     Page 5 of 27
            Case 23-1039, Document 4, 07/17/2023, 3544119, Page5 of 27



                                                          Randy M. Mastro
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Akiva Shapiro
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Casey Kyung-Se Lee
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Declan T. Conroy
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Grace Elizabeth Hart
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Lauren Kobrick Myers
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Milton L. Williams , Jr
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Sarah L. Kushner
                                                          (See above for address)
                                                          TERMINATED: 12/21/2020

Defendant
The Madison Square Garden                   represented by Jim Walden
Company                                                    (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                          Randy M. Mastro
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Akiva Shapiro
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED




https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                    7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                     Page 6 of 27
            Case 23-1039, Document 4, 07/17/2023, 3544119, Page6 of 27


                                                          Casey Kyung-Se Lee
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Declan T. Conroy
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Grace Elizabeth Hart
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Lauren Kobrick Myers
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Milton L. Williams , Jr
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Sarah L. Kushner
                                                          (See above for address)
                                                          TERMINATED: 12/21/2020

Defendant
MSG Sports & Entertainment, LLC             represented by Jim Walden
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                          Randy M. Mastro
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Akiva Shapiro
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Casey Kyung-Se Lee
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Declan T. Conroy
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Grace Elizabeth Hart
                                                          (See above for address)




https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                    7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                      Page 7 of 27
            Case 23-1039, Document 4, 07/17/2023, 3544119, Page7 of 27


                                                          ATTORNEY TO BE NOTICED

                                                          Lauren Kobrick Myers
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Milton L. Williams , Jr
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Sarah L. Kushner
                                                          (See above for address)
                                                          TERMINATED: 12/21/2020

Miscellaneous
Douglas H. Wigdor                           represented by Michael Steven Ross
                                                           Law Offices of Michael S. Ross
                                                           60 East 42nd Street, Fl. 47
                                                           New York, NY 10165
                                                           (212)-505-4060
                                                           Fax: (212)-505-4054
                                                           Email: michaelross@rosslaw.org
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                          Eugene Alexander Gormakh
                                                          Law Offices of Michael S. Ross
                                                          60 East 42nd Street
                                                          New York, NY 10165
                                                          (212)-505-4135
                                                          Fax: (212)-505-4054
                                                          Email: eugenegormakh@rosslaw.org
                                                          ATTORNEY TO BE NOTICED


 Date Filed      #    Docket Text
 09/12/2017       1 COMPLAINT against James Dolan(in his professional capacity), James Dolan
                    (in his individual capacity), MSG Networks, Inc., MSG Sports &
                    Entertainment, LLC, The Madison Square Garden Company. (Filing Fee $
                    400.00, Receipt Number 0208-14114283)Document filed by Charles Oakley.
                    (Wigdor, Douglas) (Entered: 09/12/2017)
 09/12/2017       2 CIVIL COVER SHEET filed. (Wigdor, Douglas) (Entered: 09/12/2017)
 09/12/2017       3 REQUEST FOR ISSUANCE OF SUMMONS as to James Dolan, re: 1
                    Complaint,. Document filed by Charles Oakley. (Wigdor, Douglas) (Entered:
                    09/12/2017)
 09/12/2017       4




https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                     7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                           Page 8 of 27
            Case 23-1039, Document 4, 07/17/2023, 3544119, Page8 of 27


                      REQUEST FOR ISSUANCE OF SUMMONS as to MSG Networks, Inc., re: 1
                      Complaint,. Document filed by Charles Oakley. (Wigdor, Douglas) (Entered:
                      09/12/2017)
 09/12/2017       5 REQUEST FOR ISSUANCE OF SUMMONS as to The Madison Square
                    Garden Company, re: 1 Complaint,. Document filed by Charles Oakley.
                    (Wigdor, Douglas) (Entered: 09/12/2017)
 09/12/2017       6 REQUEST FOR ISSUANCE OF SUMMONS as to MSG Sports &
                    Entertainment, LLC, re: 1 Complaint,. Document filed by Charles Oakley.
                    (Wigdor, Douglas) (Entered: 09/12/2017)
 09/12/2017       7 NOTICE OF APPEARANCE by Renan F Varghese on behalf of Charles
                    Oakley. (Varghese, Renan) (Entered: 09/12/2017)
 09/12/2017       8 NOTICE OF APPEARANCE by Alex Jeffrey Hartzband on behalf of Charles
                    Oakley. (Hartzband, Alex) (Entered: 09/12/2017)
 09/13/2017           CASE OPENING INITIAL ASSIGNMENT NOTICE: The above-entitled
                      action is assigned to Judge Richard J. Sullivan. Please download and review
                      the Individual Practices of the assigned District Judge, located at
                      http://nysd.uscourts.gov/judges/District. Attorneys are responsible for
                      providing courtesy copies to judges where their Individual Practices require
                      such. Please download and review the ECF Rules and Instructions, located at
                      http://nysd.uscourts.gov/ecf_filing.php. (kl) (Entered: 09/13/2017)
 09/13/2017           Magistrate Judge Debra C. Freeman is so designated. Pursuant to 28 U.S.C.
                      Section 636(c) and Fed. R. Civ. P. 73(b)(1) parties are notified that they may
                      consent to proceed before a United States Magistrate Judge. Parties who wish
                      to consent may access the necessary form at the following link:
                      http://nysd.uscourts.gov/forms.php. (kl) (Entered: 09/13/2017)
 09/13/2017           Case Designated ECF. (kl) (Entered: 09/13/2017)
 09/13/2017       9 ELECTRONIC SUMMONS ISSUED as to James Dolan(in his professional
                    capacity), James Dolan(in his individual capacity). (kl) (Entered: 09/13/2017)
 09/13/2017      10 ELECTRONIC SUMMONS ISSUED as to MSG Networks, Inc.. (kl) (Entered:
                    09/13/2017)
 09/13/2017      11 ELECTRONIC SUMMONS ISSUED as to The Madison Square Garden
                    Company. (kl) (Entered: 09/13/2017)
 09/13/2017      12 ELECTRONIC SUMMONS ISSUED as to MSG Sports & Entertainment,
                    LLC. (kl) (Entered: 09/13/2017)
 09/14/2017      13 NOTICE OF APPEARANCE by Milton L. Williams, Jr on behalf of James
                    Dolan(in his professional capacity), James Dolan(in his individual capacity),
                    MSG Networks, Inc., MSG Sports & Entertainment, LLC, The Madison
                    Square Garden Company. (Williams, Milton) (Entered: 09/14/2017)
 09/14/2017      14 NOTICE OF APPEARANCE by James Walden on behalf of James Dolan(in
                    his professional capacity), James Dolan(in his individual capacity), MSG
                    Networks, Inc., MSG Sports & Entertainment, LLC, The Madison Square
                    Garden Company. (Walden, James) (Entered: 09/14/2017)



https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                           7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                             Page 9 of 27
            Case 23-1039, Document 4, 07/17/2023, 3544119, Page9 of 27


 09/18/2017      15 ORDER: IT IS HEREBY ORDERED THAT Plaintiff shall file affidavits of
                    service forthwith. IT IS FURTHER ORDERED THAT the parties shall appear
                    for an initial conference on Thursday, October 19, 2017 at 9:30 a.m. in
                    Courtroom 905 of the Thurgood Marshall United States Courthouse, 40 Foley
                    Square, New York, New York. IT IS FURTHER ORDERED THAT, by
                    October 12, 2017, the parties shall jointly submit a letter, not to exceed five (5)
                    pages, providing the following information in separate paragraphs: A brief
                    statement of the nature of the action and the principal defenses thereto...The
                    estimated length of trial; and any other information that the parties believe may
                    assist this Court in resolving this action. IT IS FURTHER ORDERED THAT,
                    by October 12, 2017, the parties shall submit to the Court a proposed case
                    management plan and scheduling order. A template for the order is available
                    at: http://www.nysd.uscourts.gov/judge/Sullivan, and as further set forth
                    herein. (Initial Conference set for 10/19/2017 at 09:30 AM in Courtroom 905,
                    40 Centre Street, New York, NY 10007 before Judge Richard J. Sullivan.)
                    (Signed by Judge Richard J. Sullivan on 9/18/2017) (ras) (Entered:
                    09/18/2017)
 09/18/2017      16 FIRST LETTER MOTION for Extension of Time to File Response/Reply to
                    Complaint addressed to Judge Richard J. Sullivan from Jim Walden dated
                    9/18/2017. Document filed by James Dolan(in his professional capacity),
                    James Dolan(in his individual capacity), MSG Networks, Inc., MSG Sports &
                    Entertainment, LLC, The Madison Square Garden Company.(Walden, James)
                    (Entered: 09/18/2017)
 09/18/2017      17 ORDER granting 16 Letter Motion for Extension of Time to File
                    Response/Reply. The request is GRANTED. Defendants shall answer or
                    otherwise respond to the complaint no later than November 13, 2017. As set
                    forth in the Court's September 18, 2017 order (Doc. No. 15), the parties shall
                    submit their joint letter and proposed case-management plan no later than
                    November 21, 2017. The initial conference currently scheduled for October 19,
                    2017 is adjourned to November 28, 2017 at 1:00 p.m. (Signed by Judge
                    Richard J. Sullivan on 9/18/2017) (mro) (Entered: 09/19/2017)
 09/18/2017           Set/Reset Deadlines: James Dolan(in his professional capacity) answer due
                      11/13/2017; James Dolan(in his individual capacity) answer due 11/13/2017;
                      MSG Networks, Inc. answer due 11/13/2017; MSG Sports & Entertainment,
                      LLC answer due 11/13/2017; The Madison Square Garden Company answer
                      due 11/13/2017. (mro) (Entered: 09/19/2017)
 09/18/2017           Set/Reset Hearings: Initial Conference set for 11/28/2017 at 01:00 PM before
                      Judge Richard J. Sullivan. (mro) (Entered: 09/19/2017)
 09/25/2017      18 NOTICE OF APPEARANCE by Randy M. Mastro on behalf of James Dolan
                    (in his professional capacity), James Dolan(in his individual capacity), MSG
                    Networks, Inc., MSG Sports & Entertainment, LLC, The Madison Square
                    Garden Company. (Mastro, Randy) (Entered: 09/25/2017)
 11/13/2017      19 LETTER addressed to Judge Richard J. Sullivan from Randy M. Mastro dated
                    November 13, 2017 re: Pre-Motion Letter. Document filed by James Dolan(in
                    his professional capacity), James Dolan(in his individual capacity), MSG




https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                            7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                          Page 10 of 27
           Case 23-1039, Document 4, 07/17/2023, 3544119, Page10 of 27


                      Networks, Inc., MSG Sports & Entertainment, LLC, The Madison Square
                      Garden Company.(Mastro, Randy) (Entered: 11/13/2017)
 11/14/2017      20 NOTICE OF APPEARANCE by Sarah Kushner on behalf of James Dolan(in
                    his professional capacity), James Dolan(in his individual capacity), MSG
                    Networks, Inc., MSG Sports & Entertainment, LLC, The Madison Square
                    Garden Company. (Kushner, Sarah) (Entered: 11/14/2017)
 11/14/2017      21 LETTER addressed to Judge Richard J. Sullivan from Renan F. Varghese
                    dated November 14, 2017 re: Request for Extension of Time to Respond to
                    Defendants' Request for Pre-motion Conference. Document filed by Charles
                    Oakley.(Varghese, Renan) (Entered: 11/14/2017)
 11/14/2017      23 MEMO ENDORSEMENT on re: 21 Letter filed by Charles Oakley.
                    ENDORSEMENT: Plaintiff shall respond to Defendants' premotion letter no
                    later than December 1, 2017. As set forth in the Court's September 18, 2017
                    order, the parties shall submit their joint letter and proposed-case management
                    plan no later than December 13, 2017. The initial conference currently
                    scheduled for November 28, 2017 is adjourned to December 20, 2017 at 9:30
                    a.m. and shall also function as a premotion conference for Defendants'
                    contemplated motion to dismiss. The Court finds that the presumption in favor
                    of open records has been overcome by the privacy interests presented by the
                    redacted material in this letter and grants Plaintiff's sealing request. (Initial
                    Conference set for 12/20/2017 at 09:30 AM before Judge Richard J. Sullivan.)
                    (Signed by Judge Richard J. Sullivan on 11/14/2017) (ras) Modified on
                    12/18/2017 (ras). (Entered: 11/15/2017)
 11/15/2017      22 NOTICE OF APPEARANCE by Kenneth Daniel Walsh on behalf of Charles
                    Oakley. (Walsh, Kenneth) (Entered: 11/15/2017)
 12/01/2017      24 LETTER addressed to Judge Richard J. Sullivan from Renan F. Varghese
                    dated December 1, 2017 re: Opposition to Defendants' November 13, 2017
                    Pre-Motion Conference Letter. Document filed by Charles Oakley.(Varghese,
                    Renan) (Entered: 12/01/2017)
 12/13/2017      25 JOINT LETTER addressed to Judge Richard J. Sullivan from Plaintiff &
                    Defendants dated December 13, 2017 re: Joint Letter + Proposed CMP.
                    Document filed by James Dolan(in his professional capacity), James Dolan(in
                    his individual capacity), MSG Networks, Inc., MSG Sports & Entertainment,
                    LLC, The Madison Square Garden Company. (Attachments: # 1 Text of
                    Proposed Order Joint Proposed CMP)(Mastro, Randy) (Entered: 12/13/2017)
 12/16/2017      26 FIRST LETTER MOTION to Adjourn Conference addressed to Judge Richard
                    J. Sullivan from Randy M. Mastro dated December 15, 2017. Document filed
                    by James Dolan(in his professional capacity), James Dolan(in his individual
                    capacity), MSG Networks, Inc., MSG Sports & Entertainment, LLC, The
                    Madison Square Garden Company.(Mastro, Randy) (Entered: 12/16/2017)
 12/18/2017      27 ORDER granting 26 Letter Motion to Adjourn Conference. The premotion
                    conference is adjourned to January 12, 2018 at 2:30 p.m. The deadline for
                    initial disclosures is adjourned to January 19, 2018. (Pre-Motion Conference




https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                           7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                         Page 11 of 27
           Case 23-1039, Document 4, 07/17/2023, 3544119, Page11 of 27


                      set for 1/12/2018 at 02:30 PM before Judge Richard J. Sullivan.) (Signed by
                      Judge Richard J. Sullivan on 12/18/2017) (ras) (Entered: 12/18/2017)
 01/12/2018           Minute Entry for proceedings held before Judge Richard J. Sullivan: Premotion
                      Conference held on 1/12/2018. Renan Varghese and Douglas Wigdor present
                      for Plaintiff. Randy Mastro and Sarah Kushner present for Defendants. Court
                      reporter present. The Court held a premotion conference on Defendants'
                      contemplated motion to dismiss. The parties shall submit a joint letter to the
                      Court by January 19, 2018, updating the Court as to: (1) whether plaintiff
                      wishes to amend his complaint, (2) the type of motion Defendants wish to
                      make, (3) a proposed briefing schedule, and (4) whether the Court should stay
                      discovery. (Nessim, Daniel) Modified on 1/12/2018 (Skolnik, Brandon).
                      (Entered: 01/12/2018)
 01/16/2018      28 MOTION for Alex J. Hartzband to Withdraw as Attorney . Document filed by
                    Charles Oakley.(Varghese, Renan) (Entered: 01/16/2018)
 01/19/2018      29 JOINT LETTER addressed to Judge Richard J. Sullivan from Douglas H.
                    Wigdor dated January 19, 2018 re: Status Update Pursuant to the Court's
                    January 12, 2018 Order. Document filed by Charles Oakley.(Wigdor, Douglas)
                    (Entered: 01/19/2018)
 01/19/2018      30 MEMO ENDORSEMENT on re: 29 Letter filed by Charles Oakley.
                    ENDORSEMENT: SO ORDERED. ( Amended Pleadings due by 2/9/2018.)
                    (Signed by Judge Richard J. Sullivan on 1/19/2018) (mro) (Main Document 30
                    replaced on 1/22/2018) (mro). (Entered: 01/22/2018)
 01/19/2018      31 MEMO ENDORSEMENT granting 28 Motion to Withdraw as Attorney.
                    ENDORSEMENT: SO ORDERED. Attorney Alex Jeffrey Hartzband
                    terminated. (Signed by Judge Richard J. Sullivan on 1/19/2018) (mro)
                    (Entered: 01/22/2018)
 02/02/2018      32 NOTICE OF CHANGE OF ADDRESS by Kenneth Daniel Walsh on behalf of
                    Charles Oakley. New Address: Wigdor LLP, 85 Fifth Avenue, Fifth Floor,
                    New York, NY, United States 10003, 212-257-6800. (Walsh, Kenneth)
                    (Entered: 02/02/2018)
 02/07/2018           ***DELETED DOCUMENT. Deleted document number 33 Transcript.
                      The document was incorrectly filed in this case. (ras) (Entered: 03/05/2018)
 02/07/2018           ***DELETED DOCUMENT. Deleted document number 34 Notice. The
                      document was incorrectly filed in this case. (ras) (Entered: 03/05/2018)
 02/09/2018      35 LETTER addressed to Judge Richard J. Sullivan from Douglas H. Wigdor
                    dated February 9, 2018 re: Plaintiff's Amended Complaint. Document filed by
                    Charles Oakley.(Wigdor, Douglas) (Entered: 02/09/2018)
 02/09/2018      36 AMENDED COMPLAINT amending 1 Complaint, against James Dolan(in his
                    professional capacity), James Dolan(in his individual capacity), MSG
                    Networks, Inc., MSG Sports & Entertainment, LLC, The Madison Square
                    Garden Company with JURY DEMAND.Document filed by Charles Oakley.
                    Related document: 1 Complaint,.(Wigdor, Douglas) (Entered: 02/09/2018)
 02/28/2018      37



https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                         7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                        Page 12 of 27
           Case 23-1039, Document 4, 07/17/2023, 3544119, Page12 of 27


                      JOINT LETTER addressed to Judge Richard J. Sullivan from Randy Mastro &
                      Douglas Wigdor dated February 28, 2018 re: Oakley v. Dolan, et al., 17-cv-
                      6903 (RJS). Document filed by James Dolan(in his professional capacity),
                      James Dolan(in his individual capacity), MSG Networks, Inc., MSG Sports &
                      Entertainment, LLC, The Madison Square Garden Company.(Mastro, Randy)
                      (Entered: 02/28/2018)
 03/05/2018      38 ORDER: The Court has reviewed the parties' joint letter proposing a briefing
                    schedule and explaining the parties' respective positions on whether discovery
                    should be stayed pending the disposition of Defendants' contemplated motion
                    to dismiss. (Doc. No. 37.) Accordingly, IT IS HEREBY ORDERED THAT
                    Defendants' opening brief is due by Friday, March 30, 2018, Plaintiff's
                    opposition brief is due by Thursday, May 24, 2018, and Defendants' reply brief
                    is due by Monday, June 11, 2018. IT IS FURTHER ORDERED THAT
                    discovery will be stayed pending the disposition of Defendants' motion to
                    dismiss the amended complaint. The Court is confident that neither party will
                    be prejudiced by such a stay and that discovery will proceed more efficiently
                    when there is greater clarity as to the viable causes of action in the amended
                    complaint. ( Motions due by 3/30/2018., Responses due by 5/24/2018, Replies
                    due by 6/11/2018.) (Signed by Judge Richard J. Sullivan on 3/5/2018) (mro)
                    (Entered: 03/06/2018)
 03/21/2018      39 LETTER addressed to Judge Richard J. Sullivan from Randy M. Mastro dated
                    March 21, 2018 re: Oakley v. Dolan, et al., 17-cv-6903 (RJS). Document filed
                    by James Dolan(in his professional capacity), James Dolan(in his individual
                    capacity), MSG Networks, Inc., MSG Sports & Entertainment, LLC, The
                    Madison Square Garden Company.(Mastro, Randy) (Entered: 03/21/2018)
 03/21/2018      40 MEMO ENDORSEMENT on re: 39 Letter, filed by The Madison Square
                    Garden Company, MSG Sports & Entertainment, LLC, MSG Networks, Inc.,
                    James Dolan. ENDORSEMENT: Although the Court is not at all persuaded
                    that 40-page briefs are warranted, the parties seem determined to litigate this
                    case extravagantly, and apparently have the time and resources to do so.
                    Accordingly, the parties' request for a 15-page extension is granted.
                    Nevertheless, because the Court remains concerned that the parties' over-sized
                    briefs will be tailored more to the court of public opinion than to the United
                    States District Court for the Southern District of New York, the Court reminds
                    the parties that their submissions shall be limited to argument and authorities
                    relevant to the pending motion. (Signed by Judge Richard J. Sullivan on
                    3/21/2018) (ras) (Entered: 03/22/2018)
 03/30/2018      41 MOTION to Dismiss Plaintiff's Amended Complaint. Document filed by James
                    Dolan(in his professional capacity), James Dolan(in his individual capacity),
                    MSG Networks, Inc., MSG Sports & Entertainment, LLC, The Madison
                    Square Garden Company.(Mastro, Randy) (Entered: 03/30/2018)
 03/30/2018      42 MEMORANDUM OF LAW in Support re: 41 MOTION to Dismiss Plaintiff's
                    Amended Complaint. . Document filed by James Dolan(in his professional
                    capacity), James Dolan(in his individual capacity), MSG Networks, Inc., MSG
                    Sports & Entertainment, LLC, The Madison Square Garden Company.
                    (Mastro, Randy) (Entered: 03/30/2018)




https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                         7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                       Page 13 of 27
           Case 23-1039, Document 4, 07/17/2023, 3544119, Page13 of 27


 03/30/2018      43 DECLARATION of Sarah L. Kushner in Support re: 41 MOTION to Dismiss
                    Plaintiff's Amended Complaint.. Document filed by James Dolan(in his
                    professional capacity), James Dolan(in his individual capacity), MSG
                    Networks, Inc., MSG Sports & Entertainment, LLC, The Madison Square
                    Garden Company. (Attachments: # 1 Exhibit 1- ESPN Broadcast, # 2 Exhibit
                    2- MSG Footage, # 3 Exhibit 3- NYT's Video, # 4 Exhibit 4- YouTube Video,
                    # 5 Exhibit 5- Security Footage, # 6 Exhibit 6- ESPN Interview, # 7 Exhibit 7-
                    Criminal Complaint, # 8 Exhibit 8- Trespass Notice, # 9 Exhibit 9- Nev. D. Ct.
                    Pleading Excerpts, # 10 Exhibit 10- Nev. D. Ct. Complaint, # 11 Exhibit 11-
                    Oakley Website Information, # 12 Exhibit 12- Rebound Institute Website
                    Information, # 13 Exhibit 13- Rebound Institute Twitter Information, # 14
                    Exhibit 14- Ticket Language, # 15 Exhibit 15- Email Chain)(Mastro, Randy)
                    (Entered: 03/30/2018)
 03/30/2018      44 DECLARATION of Jim Walden in Support re: 41 MOTION to Dismiss
                    Plaintiff's Amended Complaint.. Document filed by James Dolan(in his
                    professional capacity), James Dolan(in his individual capacity), MSG
                    Networks, Inc., MSG Sports & Entertainment, LLC, The Madison Square
                    Garden Company. (Mastro, Randy) (Entered: 03/30/2018)
 04/03/2018      45 NOTICE OF CHANGE OF ADDRESS by James Walden on behalf of All
                    Defendants. New Address: Walden Macht & Haran LLP, One Battery Park
                    Plaza, 34th Floor, New York, New York, United States of America 10004,
                    (212) 335-2031. (Walden, James) (Entered: 04/03/2018)
 05/10/2018      46 LETTER addressed to Judge Richard J. Sullivan from Randy M. Mastro dated
                    May 10, 2018 re: Oakley v. Dolan, et al., 17-cv-6903 (RJS). Document filed by
                    James Dolan(in his professional capacity), James Dolan(in his individual
                    capacity), MSG Networks, Inc., MSG Sports & Entertainment, LLC, The
                    Madison Square Garden Company. (Attachments: # 1 Attachment A, # 2
                    Attachment B)(Mastro, Randy) (Entered: 05/10/2018)
 05/17/2018      47 LETTER addressed to Judge Richard J. Sullivan from Douglas H. Wigdor
                    dated May 17, 2018 re: Request for Additional Pages. Document filed by
                    Charles Oakley. (Attachments: # 1 Exhibit A (May 17, 2018 Email))(Wigdor,
                    Douglas) (Entered: 05/17/2018)
 05/17/2018      49 MEMO ENDORSEMENT on re: 47 Letter filed by Charles Oakley.
                    ENDORSEMENT: Plaintiff's request for an additional five pages is denied;
                    however, Plaintiff may use the same font sizes, margins, and spacing as
                    Defendants used in their opening brief. (Signed by Judge Richard J. Sullivan
                    on 5/17/2018) (ras) (Entered: 05/18/2018)
 05/18/2018      48 LETTER addressed to Judge Richard J. Sullivan from Randy M. Mastro dated
                    May 17, 2018 re: Oakley v. Dolan, et al., 17-cv-6903 (RJS). Document filed by
                    James Dolan(in his professional capacity), James Dolan(in his individual
                    capacity), MSG Networks, Inc., MSG Sports & Entertainment, LLC, The
                    Madison Square Garden Company.(Mastro, Randy) (Entered: 05/18/2018)
 05/24/2018      50 MEMORANDUM OF LAW in Opposition re: 41 MOTION to Dismiss
                    Plaintiff's Amended Complaint. . Document filed by Charles Oakley.
                    (Varghese, Renan) (Entered: 05/24/2018)




https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                        7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                         Page 14 of 27
           Case 23-1039, Document 4, 07/17/2023, 3544119, Page14 of 27


 05/24/2018      51 DECLARATION of Renan F. Varghese in Opposition re: 41 MOTION to
                    Dismiss Plaintiff's Amended Complaint.. Document filed by Charles Oakley.
                    (Attachments: # 1 Exhibit 1 (January 12, 2018 Court Transcript))(Varghese,
                    Renan) (Entered: 05/24/2018)
 05/29/2018      52 LETTER addressed to Judge Richard J. Sullivan from Randy M. Mastro dated
                    May 29, 2018 re: Oakley v. Dolan, et al., 17-cv-6903 (RJS). Document filed by
                    James Dolan(in his professional capacity), James Dolan(in his individual
                    capacity), MSG Networks, Inc., MSG Sports & Entertainment, LLC, The
                    Madison Square Garden Company.(Mastro, Randy) (Entered: 05/29/2018)
 05/30/2018      53 MEMO ENDORSEMENT on re: 52 Letter, filed by The Madison Square
                    Garden Company, MSG Sports & Entertainment, LLC, MSG Networks, Inc.,
                    James Dolan. ENDORSEMENT: IT IS HEREBY ORDERED THAT
                    Defendants may have an additional five pages, for a total of fifteen pages, for
                    their reply brief. SO ORDERED. (Signed by Judge Richard J. Sullivan on
                    5/30/2018) (rro) (Entered: 05/31/2018)
 06/11/2018      54 REPLY MEMORANDUM OF LAW in Support re: 41 MOTION to Dismiss
                    Plaintiff's Amended Complaint. . Document filed by James Dolan(in his
                    professional capacity), James Dolan(in his individual capacity), MSG
                    Networks, Inc., MSG Sports & Entertainment, LLC, The Madison Square
                    Garden Company. (Mastro, Randy) (Entered: 06/11/2018)
 06/11/2018      55 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. No Corporate
                    Parent. Document filed by James Dolan(in his professional capacity), James
                    Dolan(in his individual capacity), MSG Networks, Inc., MSG Sports &
                    Entertainment, LLC, The Madison Square Garden Company.(Mastro, Randy)
                    (Entered: 06/11/2018)
 03/13/2019      56 LETTER addressed to Judge Richard J. Sullivan from Douglas H. Wigdor
                    dated March 13, 2019 re: Oakley v. Dolan. Document filed by Charles Oakley.
                    (Attachments: # 1 Exhibit A - Fan Video, # 2 Exhibit B - New York Post
                    Article)(Wigdor, Douglas) (Entered: 03/13/2019)
 03/13/2019      57 LETTER addressed to Judge Richard J. Sullivan from Randy M. Mastro dated
                    March 13, 2019 re: Oakley v. Dolan, et al., 17-cv-6903 (RJS). Document filed
                    by James Dolan(in his professional capacity), James Dolan(in his individual
                    capacity), MSG Networks, Inc., MSG Sports & Entertainment, LLC, The
                    Madison Square Garden Company.(Mastro, Randy) (Entered: 03/13/2019)
 07/29/2019      58 LETTER addressed to Judge Richard J. Sullivan from Douglas H. Wigdor
                    dated July 29, 2019 re: Oakley v. Dolan. Document filed by Charles Oakley.
                    (Wigdor, Douglas) (Entered: 07/29/2019)
 07/30/2019      59 LETTER addressed to Judge Richard J. Sullivan from Randy M. Mastro dated
                    July 30, 2019 re: Oakley v. Dolan, et al., 17-cv-6903 (RJS). Document filed by
                    James Dolan(in his professional capacity), James Dolan(in his individual
                    capacity), MSG Networks, Inc., MSG Sports & Entertainment, LLC, The
                    Madison Square Garden Company.(Mastro, Randy) (Entered: 07/30/2019)
 09/04/2019      60 NOTICE OF APPEARANCE by Nelson Andrew Boxer on behalf of Charles
                    Oakley. (Boxer, Nelson) (Entered: 09/04/2019)



https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                          7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                           Page 15 of 27
           Case 23-1039, Document 4, 07/17/2023, 3544119, Page15 of 27


 09/04/2019      61 LETTER MOTION for Discovery addressed to Judge Richard J. Sullivan from
                    Douglas H. Wigdor dated September 4, 2019. Document filed by Charles
                    Oakley.(Wigdor, Douglas) (Entered: 09/04/2019)
 09/05/2019      62 ORDER denying 61 Letter Motion for Discovery. Because the Court will rule
                    on Defendants' motion to dismiss imminently, IT IS HEREBY ORDERED
                    THAT Plaintiff's motion to vacate the stay of discovery is DENIED. So
                    Ordered. (Signed by Judge Richard J. Sullivan on 9/5/19) (yv) (Entered:
                    09/05/2019)
 11/15/2019      63 LETTER addressed to Judge Richard J. Sullivan from Nelson A. Boxer dated
                    November 15, 2019 re: Oakley v. Dolan, et al., 17 Civ. 6903 (RJS). Document
                    filed by Charles Oakley.(Boxer, Nelson) (Entered: 11/15/2019)
 11/18/2019      64 LETTER addressed to Judge Richard J. Sullivan from Randy M. Mastro dated
                    November 18, 2019 re: Oakley v. Dolan, et al., 17-cv-6903 (RJS). Document
                    filed by James Dolan(in his professional capacity), James Dolan(in his
                    individual capacity), MSG Networks, Inc., MSG Sports & Entertainment, LLC,
                    The Madison Square Garden Company.(Mastro, Randy) (Entered: 11/18/2019)
 01/29/2020      65 LETTER MOTION for Discovery addressed to Judge Richard J. Sullivan from
                    Nelson A. Boxer dated January 29, 2020. Document filed by Charles Oakley.
                    (Boxer, Nelson) (Entered: 01/29/2020)
 01/29/2020      66 LETTER RESPONSE in Opposition to Motion addressed to Judge Richard J.
                    Sullivan from Randy M. Mastro dated January 29, 2020 re: 65 LETTER
                    MOTION for Discovery addressed to Judge Richard J. Sullivan from Nelson
                    A. Boxer dated January 29, 2020. . Document filed by James Dolan(in his
                    professional capacity), James Dolan(in his individual capacity), MSG
                    Networks, Inc., MSG Sports & Entertainment, LLC, The Madison Square
                    Garden Company. (Mastro, Randy) (Entered: 01/29/2020)
 02/19/2020      67 ORDER denying 65 Letter Motion for Discovery. On September 5, 2019, the
                    Court denied Plaintiff's September 4, 2019 motion to vacate the stay of
                    discovery in this matter. (Doc. No. 62.) Plaintiff now moves the Court to
                    reconsider that denial. Plaintiff's motion for reconsideration is untimely and is
                    therefore DENIED. (See S.D. N. Y. Local Civil Rule 6.3.) To the extent that
                    Plaintiff's letter can be construed as a new motion to vacate the stay order, that
                    request is also DENIED as moot in light of the Court's opinion and order
                    granting Defendants' motion to dismiss issued tandem with this order. The
                    Clerk of Court is respectfully directed at document number 65. So Ordered.
                    (Signed by Judge Richard J. Sullivan on 2/19/20) (yv) (Entered: 02/19/2020)
 02/19/2020      68 OPINION AND ORDER re: 41 MOTION to Dismiss Plaintiff's Amended
                    Complaint. filed by The Madison Square Garden Company, MSG Sports &
                    Entertainment, LLC, MSG Networks, Inc., James Dolan. IT IS HEREBY
                    ORDERED THAT Defendants' motion to dismiss is GRANTED. IT IS
                    FURTHER ORDERED THAT Oakley's request for leave to file another
                    amended complaint is DENIED. The Clerk of Court is respectfully directed to
                    terminate the motion pending at document number 41 and to close this case.
                    SO ORDERED. (Signed by Judge Richard J. Sullivan, Sitting by Designation




https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                            7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                        Page 16 of 27
           Case 23-1039, Document 4, 07/17/2023, 3544119, Page16 of 27


                      on 2/19/20) (yv) Transmission to Orders and Judgments Clerk for processing.
                      (Entered: 02/19/2020)
 02/20/2020      69 CLERK'S JUDGMENT re: 68 Memorandum & Opinion in favor of MSG
                    Networks, Inc., MSG Sports & Entertainment, LLC, The Madison Square
                    Garden Company, James Dolan against Charles Oakley. It is hereby
                    ORDERED, ADJUDGED AND DECREED: That for the reasons stated in the
                    Court's Opinion and Order dated February 19, 2020, Defendants' motion to
                    dismiss is GRANTED. Oakleys request for leave to file another amended
                    complaint is DENIED; accordingly, the case is closed. (Signed by Clerk of
                    Court Ruby Krajick on 2/20/2020) (Attachments: # 1 Right to Appeal) (km)
                    (Entered: 02/20/2020)
 02/20/2020      70 NOTICE OF APPEAL from 68 Memorandum & Opinion,, 69 Clerk's
                    Judgment,,. Document filed by Charles Oakley. Filing fee $ 505.00, receipt
                    number ANYSDC-18863736. Form C and Form D are due within 14 days to
                    the Court of Appeals, Second Circuit..(Wigdor, Douglas) (Entered:
                    02/20/2020)
 02/20/2020           Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US
                      Court of Appeals re: 70 Notice of Appeal. (tp) (Entered: 02/20/2020)
 02/20/2020           Appeal Record Sent to USCA (Electronic File). Certified Indexed record on
                      Appeal Electronic Files for 70 Notice of Appeal, filed by Charles Oakley were
                      transmitted to the U.S. Court of Appeals. (tp) (Entered: 02/20/2020)
 11/16/2020      71 USCA OPINION (Certified) as to 70 Notice of Appeal, filed by Charles
                    Oakley USCA Case Number 20-642. Appeal from a judgment of the District
                    Court for the Southern District of New York (Richard J. Sullivan, Judge),
                    dismissing an amended complaint brought by Charles Oakley against MSG
                    Networks, Inc., The Madison Square Garden Company, and MSG Sports &
                    Entertainment, LLC and James Dolan. Reversed and remanded as to causes of
                    action for assault and battery; affirmed as to all other causes of action in a
                    summary order filed this date.. Catherine O'Hagan Wolfe, Clerk USCA for the
                    Second Circuit. Certified: 11/16/2020. (Attachments: # 1 Summary Order).(nd)
                    (Entered: 11/16/2020)
 11/16/2020           Transmission of USCA Opinion to the District Judge re: 71 USCA Opinion,,..
                      (nd) (Entered: 11/16/2020)
 11/25/2020      72 LETTER addressed to Judge Richard J. Sullivan from Randy M. Mastro dated
                    November 25, 2020 re: request for a pre-motion conference. Document filed by
                    James Dolan(in his professional capacity), James Dolan(in his individual
                    capacity), MSG Networks, Inc., MSG Sports & Entertainment, LLC, The
                    Madison Square Garden Company..(Mastro, Randy) (Entered: 11/25/2020)
 11/30/2020      73 ORDER. Defendants' request for a pre-motion conference and stay of
                    discovery is DENIED without prejudice to renewal following issuance of the
                    Second Circuit's mandate. So Ordered. (Signed by Judge Richard J. Sullivan,
                    Sitting by Designation on 11/25/20) (yv) (Entered: 11/30/2020)
 12/07/2020      74 MANDATE of USCA (Certified Copy) as to 70 Notice of Appeal, filed by
                    Charles Oakley USCA Case Number 20-0642. IT IS HEREBY ORDERED,



https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                         7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                        Page 17 of 27
           Case 23-1039, Document 4, 07/17/2023, 3544119, Page17 of 27


                      ADJUDGED and DECREED that the district court's judgment is REVERSED
                      as to the causes of action for assault and battery and AFFIRMED as to other
                      causes of action discussed in the accompanying summary order, and the case is
                      REMANDED for further proceedings consistent with this Court's opinion.
                      Catherine O'Hagan Wolfe, Clerk USCA for the Second Circuit. Issued As
                      Mandate: 12/7/2020. (Attachments: # 1 OPINION, # 2 Summary Order). (tp)
                      (Entered: 12/07/2020)
 12/07/2020           Transmission of USCA Mandate/Order to the District Judge re: 74 USCA
                      Mandate. (tp) (Entered: 12/07/2020)
 12/07/2020      75 LETTER addressed to Judge Richard J. Sullivan from Randy M. Mastro dated
                    December 7, 2020 re: request for a pre-motion conference. Document filed by
                    James Dolan(in his professional capacity), James Dolan(in his individual
                    capacity), MSG Networks, Inc., MSG Sports & Entertainment, LLC, The
                    Madison Square Garden Company..(Mastro, Randy) (Entered: 12/07/2020)
 12/08/2020      76 ORDER, IT IS HEREBY ORDERED THAT Plaintiff shall file a responsive
                    letter by Friday, December 11, 2020. IT IS FURTHER ORDERED THAT the
                    parties shall appear for a video conference on Friday, December 18, 2020 at
                    11:00 a.m. The Court will issue a separate order containing instructions for the
                    parties to access the video conference and for members of the public to monitor
                    the proceedings. SO ORDERED.( Telephone Conference set for 12/18/2020 at
                    11:00 AM before Judge Richard J. Sullivan.) (Signed by Judge Richard J.
                    Sullivan, Sitting by Designation on 12/8/20) (yv) (Entered: 12/08/2020)
 12/08/2020      77 LETTER addressed to Judge Richard J. Sullivan from Nelson A. Boxer dated
                    12/08/2020 re: Oakley v. Dolan, et al., 17-cv-06903 (RJS). Document filed by
                    Charles Oakley..(Boxer, Nelson) (Entered: 12/08/2020)
 12/08/2020      78 MEMO ENDORSEMENT on re: 77 Letter informing the Court that, unless
                    there is objection from the Court, Allen, will be working with him on (and will
                    file a Notice of Appearance in) this matter filed by Charles Oakley.
                    ENDORSEMENT: As Mr. Allen was a student extern in the Court's chambers
                    before the commencement of this case, and because Defendants do not object
                    to his involvement, IT IS HEREBY ORDERED, that Mr. Allen may represent
                    Plaintiff in this matter. So Ordered. (Signed by Judge Richard J. Sullivan,
                    Sitting by Designation on 12/8/20) (yv) (Entered: 12/09/2020)
 12/09/2020      79 ORDER. As indicated in the Court's previous order (Doc. No. 76), a
                    conference in this matter is scheduled for Friday, December 18, 2020 at 11:00
                    a.m. In light of the ongoing COVID-19 pandemic and Chief Judge McMahon's
                    most recent order regarding the curtailment of proceedings at the Courthouse
                    (Standing Order at 1, Nov. 30, 2020), the conference shall take place via Skype
                    for Business videoconference. No later than 5:00 p.m. on Wednesday,
                    December 16, 2020, the parties shall jointly email to the Court a list of the
                    names and email addresses of persons who anticipate speaking during the
                    videoconference, as well as the phone numbers of those who will be
                    participating via telephone conference. Chambers will email the parties directly
                    in due course with further instructions for accessing the videoconference.
                    Members of the public may monitor the conference via the Court's free audio
                    line by dialing 1-888-363-4749 and using access code 3290725#. SO



https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                         7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                        Page 18 of 27
           Case 23-1039, Document 4, 07/17/2023, 3544119, Page18 of 27


                      ORDERED. (Signed by Judge Richard J. Sullivan, Sitting by Designation on
                      12/9/20) (yv) (Entered: 12/09/2020)
 12/09/2020      80 LETTER addressed to Judge Richard J. Sullivan from Randy M. Mastro dated
                    December 9, 2020 re: rescheduling of the video conference date. Document
                    filed by James Dolan(in his professional capacity), James Dolan(in his
                    individual capacity), MSG Networks, Inc., MSG Sports & Entertainment, LLC,
                    The Madison Square Garden Company..(Mastro, Randy) (Entered: 12/09/2020)
 12/10/2020      81 MEMO ENDORSEMENT on re: 80 Letter rescheduling of the video
                    conference date, filed by The Madison Square Garden Company, MSG Sports
                    & Entertainment, LLC, MSG Networks, Inc., James Dolan. ENDORSEMENT:
                    IT IS HEREBY ORDERED THAT the pre-motion conference in this matter
                    will instead take place on Tuesday, December 22, 2020 at 10:00 a.m. via the
                    Skype for Business videoconference system. No later than 5:00 p.m. on Friday,
                    December 18, 2020, the parties shall jointly email to the Court a list of the
                    names and email addresses of persons who anticipate speaking during the
                    videoconference, as well as the phone numbers of those who will be
                    participating via telephone conference. Chambers will email the parties directly
                    in due course with further instructions for accessing the videoconference.
                    Members of the public may monitor the conference via the Court's free audio
                    line by dialing 1-888-363-4749 and using access code 3290725#. SO
                    ORDERED., ( Telephone Conference set for 12/22/2020 at 10:00 AM before
                    Judge Richard J. Sullivan.) (Signed by Judge Richard J. Sullivan, Sitting by
                    Designation on 12/10/20) (yv) (Entered: 12/10/2020)
 12/11/2020      82 LETTER addressed to Judge Richard J. Sullivan from Nelson A. Boxer dated
                    12/11/2020 re: Opposition to Request to Move for Summary Judgment and
                    Discovery Stay. Document filed by Charles Oakley..(Boxer, Nelson) (Entered:
                    12/11/2020)
 12/11/2020      83 LETTER addressed to Judge Richard J. Sullivan from Nelson A. Boxer dated
                    12/11/2020 re: Request to Move to File an Amended Complaint. Document
                    filed by Charles Oakley. (Attachments: # 1 Exhibit A, # 2 Exhibit B).(Boxer,
                    Nelson) (Entered: 12/11/2020)
 12/14/2020      84 MEMO ENDORSEMENT on re: 83 Letter filed by Charles Oakley.
                    ENDORSEMENT: In accordance with Rule 2.A. of the Court's Individual
                    Rules and Practices, IT IS HEREBY ORDERED THAT Defendants shall file a
                    response to this letter by Thursday, December 17, 2020. Plaintiff's anticipated
                    motion to amend his complaint will be discussed along with Defendants'
                    anticipated motion for summary judgment at the pre-motion conference on
                    December 22, 2020 at 10:00 a.m. SO ORDERED. (Signed by Judge Richard J.
                    Sullivan on 12/14/2020) (ks) (Entered: 12/14/2020)
 12/15/2020      85 NOTICE OF APPEARANCE by Nelson Andrew Boxer on behalf of Charles
                    Oakley..(Boxer, Nelson) (Entered: 12/15/2020)
 12/17/2020      86 NOTICE OF APPEARANCE by Declan Thomas Conroy on behalf of James
                    Dolan(in his professional capacity), James Dolan(in his individual capacity),
                    MSG Networks, Inc., MSG Sports & Entertainment, LLC, The Madison
                    Square Garden Company..(Conroy, Declan) (Entered: 12/17/2020)




https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                         7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                         Page 19 of 27
           Case 23-1039, Document 4, 07/17/2023, 3544119, Page19 of 27


 12/17/2020      87 MOTION for SARAH L. KUSHNER to Withdraw as Attorney . Document
                    filed by James Dolan(in his professional capacity), James Dolan(in his
                    individual capacity), MSG Networks, Inc., MSG Sports & Entertainment, LLC,
                    The Madison Square Garden Company. (Attachments: # 1 Declaration of
                    Randy M. Mastro, # 2 Text of Proposed Order).(Mastro, Randy) (Entered:
                    12/17/2020)
 12/17/2020      88 LETTER addressed to Judge Richard J. Sullivan from Randy M. Mastro dated
                    December 17, 2020 re: response to Plaintiff's request for leave to file a Second
                    Amended Complaint. Document filed by James Dolan(in his professional
                    capacity), James Dolan(in his individual capacity), MSG Networks, Inc., MSG
                    Sports & Entertainment, LLC, The Madison Square Garden Company..
                    (Mastro, Randy) (Entered: 12/17/2020)
 12/21/2020      89 ORDER granting 87 Motion to Withdraw as Attorney. IT IS HEREBY
                    ORDERED THAT Defendants' motion is granted, and the appearance of Ms.
                    Kushner is withdrawn as of the date of this Order. SO ORDERED. ( Attorney
                    Sarah L. Kushner terminated.) (Signed by Judge Richard J. Sullivan, Sitting by
                    Designation on 12/21/20) (yv) Modified on 1/21/2021 (yv). (Entered:
                    12/22/2020)
 12/22/2020           Minute Entry for proceedings held before Judge Richard J. Sullivan: Pre-
                      Motion Conference held on 12/22/2020. Pre-motion conference held via Skype
                      for Business. Attorneys Douglas Wigdor and Nelson Boxer present on behalf
                      of Plaintiff (by video). Attorneys Randy Mastro and Declan Conroy present on
                      behalf of Defendants (by video). Court reporter present (by telephone). The
                      parties addressed Plaintiffs anticipated motion to amend his complaint and
                      Defendants anticipated motion for summary judgment. The Court will issue a
                      separate order setting forth the briefing schedule discussed during the
                      conference and addressing Defendants request for a stay of discovery pending
                      resolution of their motion for summary judgment.(Miller, Arielle) (Entered:
                      12/22/2020)
 12/22/2020      90 ORDER, IT IS HEREBY ORDERED THAT the parties shall comply with the
                    following briefing schedule on their contemplated motions: (1) by Friday,
                    January 22, 2021, Plaintiff shall file his motion to amend his complaint and
                    supporting brief, and Defendants shall file their motion for summary judgment
                    and supporting brief and Rule 56.1 statement; (2) by Friday, February 19,
                    2021, each party shall file its opposition to the relevant motions; and (3) by
                    Tuesday, March 2, 2021, each party shall file its reply brief. In the event that
                    any party wishes to submit video evidence in connection with the motion for
                    summary judgment, such videos shall be submitted in one of the following
                    readily accessible file formats: MP4, MOV, WMV, FLV, or AVI. IT IS
                    FURTHER ORDERED THAT discovery will be stayed pending the
                    disposition of Defendants' motion for summary judgment. The Court finds that
                    neither party will be prejudiced by such a stay, as Plaintiff may oppose
                    summary judgment on the grounds that additional discovery is necessary,
                    pursuant to Federal Rule of Civil Procedure 56(d). See, e.g., Papazian v. Sony
                    Music Ent., No. 16-cv-07911 (RJS), 2017 WL 4339662, at *2 (S.D.N.Y. Sept.
                    28, 2017) ("Under Rule 56(d), the Court may order a continuance if a party
                    opposing summary judgment shows by affidavit that it cannot present facts



https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                          7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                          Page 20 of 27
           Case 23-1039, Document 4, 07/17/2023, 3544119, Page20 of 27


                      essential to justify its opposition to the motion" (internal quotation marks and
                      alteration omitted)). SO ORDERED. ( Motions due by 1/22/2021., Responses
                      due by 2/19/2021, Replies due by 3/2/2021.) (Signed by Judge Richard J.
                      Sullivan, Sitting by Designation on 12/22/20) (yv) Modified on 1/21/2021 (yv).
                      (Entered: 12/23/2020)
 12/24/2020      91 LETTER MOTION to Stay Defendants' time to serve their answer to Plaintiff's
                    Amended Complaint addressed to Judge Richard J. Sullivan from Randy M.
                    Mastro dated December 24, 2020. Document filed by James Dolan(in his
                    professional capacity), James Dolan(in his individual capacity), MSG
                    Networks, Inc., MSG Sports & Entertainment, LLC, The Madison Square
                    Garden Company..(Mastro, Randy) (Entered: 12/24/2020)
 12/28/2020      92 ORDER terminating 91 Letter Motion to Stay. IT IS HEREBY ORDERED
                    THAT Defendants shall serve their answer to Plaintiff's Amended Complaint
                    by Monday, January 11, 2021. The Court will consider any further extension
                    once Defendants' counsel has learned of Plaintiff's position regarding any such
                    extension. SO ORDERED. (Signed by Judge Richard J. Sullivan on
                    12/28/2020) (mml) (Entered: 12/28/2020)
 12/29/2020      93 TRANSCRIPT of Proceedings re: CONFERENCE held on 12/22/2020 before
                    Judge Richard J. Sullivan. Court Reporter/Transcriber: Vincent Bologna, (212)
                    805-0300. Transcript may be viewed at the court public terminal or purchased
                    through the Court Reporter/Transcriber before the deadline for Release of
                    Transcript Restriction. After that date it may be obtained through PACER.
                    Redaction Request due 1/19/2021. Redacted Transcript Deadline set for
                    1/29/2021. Release of Transcript Restriction set for 3/29/2021..(McGuirk,
                    Kelly) (Entered: 12/29/2020)
 12/29/2020      94 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given
                    that an official transcript of a CONFERENCE proceeding held on 12/22/20 has
                    been filed by the court reporter/transcriber in the above-captioned matter. The
                    parties have seven (7) calendar days to file with the court a Notice of Intent to
                    Request Redaction of this transcript. If no such Notice is filed, the transcript
                    may be made remotely electronically available to the public without redaction
                    after 90 calendar days....(McGuirk, Kelly) (Entered: 12/29/2020)
 01/05/2021      95 LETTER MOTION to Stay re: 36 Amended Complaint, - Defendants' time to
                    serve their answer to Plaintiff's Amended Complaint addressed to Judge
                    Richard J. Sullivan from Randy M. Mastro dated January 5, 2021. Document
                    filed by James Dolan(in his professional capacity), James Dolan(in his
                    individual capacity), MSG Networks, Inc., MSG Sports & Entertainment, LLC,
                    The Madison Square Garden Company..(Mastro, Randy) (Entered: 01/05/2021)
 01/05/2021      96 MEMO ENDORSEMENT on re: 95 LETTER MOTION to Stay re: 36
                    Amended Complaint, - Defendants' time to serve their answer to Plaintiff's
                    Amended Complaint addressed to Judge Richard J. Sullivan from Randy M.
                    Mastro dated January 5, 2021. filed by The Madison Square Garden Company,
                    MSG Sports & Entertainment, LLC, MSG Networks, Inc., James Dolan.
                    ENDORSEMENT: IT IS HEREBY ORDERED THAT Plaintiff shall submit a
                    response to this letter by Friday, January 8, 2021, setting forth his reasons for
                    opposing Defendants' request to extend their time to answer Plaintiff's



https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                           7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                        Page 21 of 27
           Case 23-1039, Document 4, 07/17/2023, 3544119, Page21 of 27


                      Amended Complaint until two weeks after disposition of Defendants' motion
                      for summary judgment. So Ordered., ( Responses due by 1/8/2021) (Signed by
                      Judge Richard J. Sullivan, Sitting by Designation on 1/5/21) (yv) (Entered:
                      01/06/2021)
 01/06/2021      97 NOTICE OF APPEARANCE by Akiva Shapiro on behalf of James Dolan(in
                    his professional capacity), James Dolan(in his individual capacity), MSG
                    Networks, Inc., MSG Sports & Entertainment, LLC, The Madison Square
                    Garden Company..(Shapiro, Akiva) (Entered: 01/06/2021)
 01/06/2021      98 NOTICE OF APPEARANCE by Grace Elizabeth Hart on behalf of James
                    Dolan(in his professional capacity), James Dolan(in his individual capacity),
                    MSG Networks, Inc., MSG Sports & Entertainment, LLC, The Madison
                    Square Garden Company..(Hart, Grace) (Entered: 01/06/2021)
 01/08/2021      99 LETTER addressed to Judge Richard J. Sullivan from Nelson A. Boxer dated
                    January 8, 2021 re: Plaintiff Opposition. Document filed by Charles Oakley..
                    (Boxer, Nelson) (Entered: 01/08/2021)
 01/11/2021     100 ORDER granting 95 Letter Motion to Stay. Defendants' request to stay their
                    obligation to file an answer until after the Court resolves their motion for
                    summary judgment is GRANTED. SO ORDERED. (Signed by Judge Richard
                    J. Sullivan, Sitting by Designation on 1/11/21) (yv) (Entered: 01/11/2021)
 01/22/2021     101 SUPPLEMENTAL RULE 7.1 CORPORATE DISCLOSURE STATEMENT.
                    Identifying Corporate Parent The Madison Square Garden Company,
                    Corporate Parent Madison Square Garden Entertainment Corp. for MSG Sports
                    & Entertainment, LLC. Document filed by MSG Networks, Inc., MSG Sports
                    & Entertainment, LLC, The Madison Square Garden Company..(Mastro,
                    Randy) (Entered: 01/22/2021)
 01/22/2021     102 MOTION for Summary Judgment . Document filed by James Dolan(in his
                    professional capacity), James Dolan(in his individual capacity), MSG
                    Networks, Inc., MSG Sports & Entertainment, LLC, The Madison Square
                    Garden Company..(Mastro, Randy) (Entered: 01/22/2021)
 01/22/2021     103 MEMORANDUM OF LAW in Support re: 102 MOTION for Summary
                    Judgment . . Document filed by James Dolan(in his professional capacity),
                    James Dolan(in his individual capacity), MSG Networks, Inc., MSG Sports &
                    Entertainment, LLC, The Madison Square Garden Company..(Mastro, Randy)
                    (Entered: 01/22/2021)
 01/22/2021     104 DECLARATION of Randy M. Mastro in Support re: 102 MOTION for
                    Summary Judgment .. Document filed by James Dolan(in his professional
                    capacity), James Dolan(in his individual capacity), MSG Networks, Inc., MSG
                    Sports & Entertainment, LLC, The Madison Square Garden Company.
                    (Attachments: # 1 Exhibit 1- ESPN Broadcast, # 2 Exhibit 2- MSG Footage, #
                    3 Exhibit 3- NYT's Video, # 4 Exhibit 4- YouTube Video, # 5 Exhibit 5- MSG
                    Security Footage, # 6 Exhibit 6- Ticket Language).(Mastro, Randy) (Entered:
                    01/22/2021)
 01/22/2021     105 RULE 56.1 STATEMENT. Document filed by James Dolan(in his professional
                    capacity), James Dolan(in his individual capacity), MSG Networks, Inc., MSG



https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                         7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                     Page 22 of 27
           Case 23-1039, Document 4, 07/17/2023, 3544119, Page22 of 27


                      Sports & Entertainment, LLC, The Madison Square Garden Company..
                      (Mastro, Randy) (Entered: 01/22/2021)
 01/22/2021     106 MOTION for Leave to File Second Amended Complaint . Document filed by
                    Charles Oakley..(Wigdor, Douglas) (Entered: 01/22/2021)
 01/22/2021     107 MEMORANDUM OF LAW in Support re: 106 MOTION for Leave to File
                    Second Amended Complaint . . Document filed by Charles Oakley..(Wigdor,
                    Douglas) (Entered: 01/22/2021)
 01/22/2021     108 DECLARATION of Renan F. Varghese in Support re: 106 MOTION for
                    Leave to File Second Amended Complaint .. Document filed by Charles
                    Oakley. (Attachments: # 1 Exhibit A, # 2 Exhibit B).(Varghese, Renan)
                    (Entered: 01/22/2021)
 02/19/2021     109 MEMORANDUM OF LAW in Opposition re: 106 MOTION for Leave to File
                    Second Amended Complaint . . Document filed by James Dolan(in his
                    professional capacity), James Dolan(in his individual capacity), MSG
                    Networks, Inc., MSG Sports & Entertainment, LLC, The Madison Square
                    Garden Company..(Mastro, Randy) (Entered: 02/19/2021)
 02/19/2021     110 MEMORANDUM OF LAW in Opposition re: 102 MOTION for Summary
                    Judgment . . Document filed by Charles Oakley..(Wigdor, Douglas) (Entered:
                    02/19/2021)
 02/19/2021     111 RULE 56.1 STATEMENT. Document filed by Charles Oakley..(Wigdor,
                    Douglas) (Entered: 02/19/2021)
 02/19/2021     112 DECLARATION of Douglas H. Wigdor in Opposition re: 102 MOTION for
                    Summary Judgment .. Document filed by Charles Oakley..(Wigdor, Douglas)
                    (Entered: 02/19/2021)
 02/19/2021     113 DECLARATION of Renan F. Varghese in Opposition re: 102 MOTION for
                    Summary Judgment .. Document filed by Charles Oakley. (Attachments: # 1
                    Exhibit A).(Varghese, Renan) (Entered: 02/19/2021)
 02/19/2021     114 DECLARATION of Charles Oakley in Opposition re: 102 MOTION for
                    Summary Judgment .. Document filed by Charles Oakley..(Wigdor, Douglas)
                    (Entered: 02/19/2021)
 02/22/2021     115 LETTER MOTION for Extension of Time to File Response/Reply addressed to
                    Judge Richard J. Sullivan from Renan F. Varghese dated February 22, 2021.
                    Document filed by Charles Oakley..(Varghese, Renan) (Entered: 02/22/2021)
 02/23/2021     116 ORDER granting 115 Letter Motion for Extension of Time to File
                    Response/Reply re 115 LETTER MOTION for Extension of Time to File
                    Response/Reply addressed to Judge Richard J. Sullivan from Renan F.
                    Varghese dated February 22, 2021., 102 MOTION for Summary Judgment .,
                    106 MOTION for Leave to File Second Amended Complaint . IT IS HEREBY
                    ORDERED THAT Plaintiff's request for an extension is GRANTED. Both
                    parties' respective reply briefs shall be submitted by March 9, 2021. SO
                    ORDERED. ( Replies due by 3/9/2021.) (Signed by Judge Richard J. Sullivan
                    on 2/23/21) (yv) (Entered: 02/23/2021)




https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                     7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                         Page 23 of 27
           Case 23-1039, Document 4, 07/17/2023, 3544119, Page23 of 27


 03/09/2021     117 REPLY MEMORANDUM OF LAW in Support re: 106 MOTION for Leave
                    to File Second Amended Complaint . . Document filed by Charles Oakley..
                    (Wigdor, Douglas) (Entered: 03/09/2021)
 03/09/2021     118 REPLY MEMORANDUM OF LAW in Support re: 102 MOTION for
                    Summary Judgment . . Document filed by James Dolan(in his professional
                    capacity), James Dolan(in his individual capacity), MSG Networks, Inc., MSG
                    Sports & Entertainment, LLC, The Madison Square Garden Company..
                    (Mastro, Randy) (Entered: 03/09/2021)
 03/09/2021     119 DECLARATION of DECLAN T. CONROY in Support re: 102 MOTION for
                    Summary Judgment .. Document filed by James Dolan(in his professional
                    capacity), James Dolan(in his individual capacity), MSG Networks, Inc., MSG
                    Sports & Entertainment, LLC, The Madison Square Garden Company.
                    (Attachments: # 1 Exhibit 1 - Video Clip (to be filed and served in hard copy)).
                    (Conroy, Declan) (Entered: 03/09/2021)
 03/09/2021     120 COUNTER STATEMENT TO 111 Rule 56.1 Statement. Document filed by
                    James Dolan(in his professional capacity), James Dolan(in his individual
                    capacity), MSG Networks, Inc., MSG Sports & Entertainment, LLC, The
                    Madison Square Garden Company..(Mastro, Randy) (Entered: 03/09/2021)
 11/08/2021     121 OPINION AND ORDER re: 102 MOTION for Summary Judgment . filed by
                    The Madison Square Garden Company, MSG Sports & Entertainment, LLC,
                    MSG Networks, Inc., James Dolan, 106 MOTION for Leave to File Second
                    Amended Complaint . filed by Charles Oakley. For the past three years, much
                    ink has been spilled describing and characterizing what transpired between
                    Charles Oakley and the security guards tasked with escorting him from
                    Madison Square Garden during a Knicks game in February 2017. These
                    descriptions and characterizations have had their place in the pleadings, in the
                    Defendants' motions to dismiss, and on appeal. But at this stage of the
                    proceedings, the case is no longer about words. It's about evidence. And the
                    undisputed video evidence conclusively demonstrates that the Garden's
                    security guards did not use excessive force as they escorted Oakley from the
                    arena. To the contrary, the video clearly shows that: (1) the guards asked
                    Oakley to leave; (2) they gave him a chance to leave; and (3) when he refused
                    to leave, and in fact escalated the confrontation, they removed him from the
                    Garden by using a degree of force that was indisputably reasonable and
                    appropriate under the circumstances. No rational jury could conclude
                    otherwise, and Oakley's previously offered versions of the events are so
                    blatantly contradicted by the [video] record... that no reasonable jury could
                    believe [them]. Scott, 550 U.S. at 380. Therefore, for the reasons stated above,
                    IT IS HEREBY ORDERED THAT Defendants' motion for summary judgment
                    is GRANTED. IT IS FURTHER ORDERED THAT Oakley's request for leave
                    to file another amended complaint is DENIED. The Clerk of Court is
                    respectfully directed to terminate the motions pending at docket numbers 102
                    and 106 and to close this case. SO ORDERED. Sitting by Designation. (Signed
                    by Judge Richard J. Sullivan on 11/8/2021) (ate) (Entered: 11/08/2021)
 11/08/2021           Terminate Transcript Deadlines (ate) (Entered: 11/08/2021)
 11/08/2021



https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                         7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                         Page 24 of 27
           Case 23-1039, Document 4, 07/17/2023, 3544119, Page24 of 27


                      Transmission to Orders and Judgments Clerk. Transmitted re: 121
                      Memorandum & Opinion, to the Orders and Judgments Clerk. (ate) (Entered:
                      11/22/2021)
 11/22/2021     122 CLERK'S JUDGMENT re: 121 Memorandum & Opinion, in favor of MSG
                    Networks, Inc., MSG Sports & Entertainment, LLC, The Madison Square
                    Garden Company, James Dolan against Charles Oakley. It is hereby
                    ORDERED, ADJUDGED AND DECREED: That for the reasons stated in the
                    Court's Opinion and Order dated November 8, 2021, Defendants' motion for
                    summary judgment is GRANTED. IT IS FURTHER ORDERED THAT
                    Oakley's request for leave to file another amended complaint is DENIED;
                    accordingly, this case is closed. (Signed by Clerk of Court Ruby Krajick on
                    11/22/2021) (Attachments: # 1 Notice of Right to Appeal) (dt) (Entered:
                    11/22/2021)
 11/24/2021     123 NOTICE OF APPEAL from 122 Clerk's Judgment,, 121 Memorandum &
                    Opinion,,,,,,,. Document filed by Charles Oakley. Filing fee $ 505.00, receipt
                    number ANYSDC-25381687. Form C and Form D are due within 14 days to
                    the Court of Appeals, Second Circuit..(Wigdor, Douglas) Modified on
                    11/24/2021 (nd). (Entered: 11/24/2021)
 11/24/2021           Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US
                      Court of Appeals re: 123 Notice of Appeal,..(nd) (Entered: 11/24/2021)
 11/24/2021           Appeal Record Sent to USCA (Electronic File). Certified Indexed record on
                      Appeal Electronic Files for 123 Notice of Appeal, filed by Charles Oakley
                      were transmitted to the U.S. Court of Appeals..(nd) (Entered: 11/24/2021)
 11/29/2021     124 LETTER addressed to Judge Richard J. Sullivan from Randy M. Mastro dated
                    November 29, 2021 re: pre-motion conference on sanctions. Document filed by
                    James Dolan(in his professional capacity), James Dolan(in his individual
                    capacity), MSG Networks, Inc., MSG Sports & Entertainment, LLC, The
                    Madison Square Garden Company..(Mastro, Randy) (Entered: 11/29/2021)
 12/02/2021     125 LETTER addressed to Judge Richard J. Sullivan from Nelson A. Boxer dated
                    12/2/2021 re: Plaintiff's Response to Defendants' Letter seeking a Pre-Motion
                    Conference for their anticipated Motion for Sanctions. Document filed by
                    Charles Oakley..(Boxer, Nelson) (Entered: 12/02/2021)
 12/03/2021     126 LETTER addressed to Judge Richard J. Sullivan from Randy M. Mastro dated
                    December 3, 2021 re: pre-motion conference on sanctions. Document filed by
                    James Dolan(in his professional capacity), James Dolan(in his individual
                    capacity), MSG Networks, Inc., MSG Sports & Entertainment, LLC, The
                    Madison Square Garden Company..(Mastro, Randy) (Entered: 12/03/2021)
 12/03/2021     127 LETTER addressed to Judge Richard J. Sullivan from Nelson A. Boxer dated
                    12/3/2021 re: Opposition to Document 126. Document filed by Charles
                    Oakley..(Boxer, Nelson) (Entered: 12/03/2021)
 12/20/2021     128 ORDER: The Court is in receipt of Defendants' letter, dated November 29,
                    2021, requesting a conference to discuss a potential motion for sanctions (Doc.
                    No. 124), as well as Plaintiff's response, dated December 2, 2021 (Doc. No.
                    125), and additional letters by both parties dated December 3, 2021 (Doc Nos.



https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                          7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                         Page 25 of 27
           Case 23-1039, Document 4, 07/17/2023, 3544119, Page25 of 27


                      126, 127). IT IS HEREBY ORDERED that the parties shall appear before the
                      Court on Monday, January 3, 2022, at 11:00 a.m., for a pre-motion conference.
                      The conference shall take place in Courtroom 21C at the Daniel Patrick
                      Moynihan Courthouse, 500 Pearl Street, New York, New York 10007.
                      Members of the public may monitor the proceeding either in-person in
                      Courtroom 21C or via the Court's free audio line by dialing 1-888-363-4749
                      and using access code 3290725#. SO ORDERED., ( Pre-Motion Conference
                      set for 1/3/2022 at 11:00 AM in Courtroom 21C, 500 Pearl Street, New York,
                      NY 10007 before Judge Richard J. Sullivan.) (Signed by Judge Richard J.
                      Sullivan on 12/20/2021) (ama) (Entered: 12/20/2021)
 12/22/2021     129 NOTICE OF APPEARANCE by Michael Steven Ross on behalf of Douglas H.
                    Wigdor..(Ross, Michael) (Entered: 12/22/2021)
 01/01/2022     130 NOTICE OF APPEARANCE by Eugene Alexander Gormakh on behalf of
                    Douglas H. Wigdor..(Gormakh, Eugene) (Entered: 01/01/2022)
 01/01/2022     131 ORDER: As previously ordered (Doc. No. 128), the Court will conduct a pre-
                    motion conference on Monday, January 3, 2022 at 11:00 a.m. in connection
                    with Defendants' contemplated motion for sanctions. In light of the recent
                    surge in COVID-19 cases, IT IS HEREBY ORDERED THAT the conference
                    will take place via ZoomGov videoconference. The Court will email the parties
                    directly with instructions for accessing the conference in due course. No later
                    than 9:00 a.m. on January 3, 2022, the parties shall email to the Court a list of
                    the names and email addresses of persons who anticipate speaking during the
                    videoconference, as well as the phone numbers of those who will be
                    participating via telephone conference. Members of the public may monitor the
                    conference via the Court's free audio line by dialing 1-888-363-4749 and using
                    access code 3290725#. Sitting by Designation. (Signed by Judge Richard J.
                    Sullivan on 12/30/2021) (ate) (Entered: 01/03/2022)
 01/03/2022     132 Minute Entry for proceedings held before Judge Richard J. Sullivan: Pre-
                    Motion Conference held on 1/3/2022. Pre-motion conference held via
                    ZoomGov videoconference. Attorneys Nelson Boxer, Michael Ross, Eugene
                    Gormakh, Renan Varghese, and John Allen present on behalf of Plaintiff (by
                    video). Attorneys Randy Mastro, Akiva Shapiro, and Declan T. Conroy present
                    on behalf of Defendants (by video). Court reporter present (by telephone). The
                    parties addressed Defendants' contemplated motion for sanctions. The Court
                    directed the parties to submit a joint letter within seven days of the 2nd
                    Circuit's resolution of Plaintiff's pending appeal.(Court Reporter Steven
                    Greenblum)(Submitted by RJS Chambers) (Entered: 01/03/2022)
 01/04/2022     133 LETTER addressed to Judge Richard J. Sullivan from Randy M. Mastro dated
                    January 4, 2022 re: delay of formal filing of sanctions motion. Document filed
                    by James Dolan(in his professional capacity), James Dolan(in his individual
                    capacity), MSG Networks, Inc., MSG Sports & Entertainment, LLC, The
                    Madison Square Garden Company..(Mastro, Randy) (Entered: 01/04/2022)
 01/05/2022     134 LETTER addressed to Judge Richard J. Sullivan from Nelson A. Boxer dated
                    January 5, 2022 re: Timing of Defendant's Rule 11 motion. Document filed by
                    Charles Oakley..(Boxer, Nelson) (Entered: 01/05/2022)




https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                          7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                           Page 26 of 27
           Case 23-1039, Document 4, 07/17/2023, 3544119, Page26 of 27


 01/11/2022     135 TRANSCRIPT of Proceedings re: CONFERENCE held on 1/3/2022 before
                    Judge Richard J. Sullivan. Court Reporter/Transcriber: Steven Greenblum,
                    (212) 805-0300. Transcript may be viewed at the court public terminal or
                    purchased through the Court Reporter/Transcriber before the deadline for
                    Release of Transcript Restriction. After that date it may be obtained through
                    PACER. Redaction Request due 2/1/2022. Redacted Transcript Deadline set
                    for 2/11/2022. Release of Transcript Restriction set for 4/11/2022..(Moya,
                    Goretti) (Entered: 01/11/2022)
 01/11/2022     136 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given
                    that an official transcript of a CONFERENCE proceeding held on 1/3/21 has
                    been filed by the court reporter/transcriber in the above-captioned matter. The
                    parties have seven (7) calendar days to file with the court a Notice of Intent to
                    Request Redaction of this transcript. If no such Notice is filed, the transcript
                    may be made remotely electronically available to the public without redaction
                    after 90 calendar days....(Moya, Goretti) (Entered: 01/11/2022)
 05/05/2023     137 TRUE COPY ORDER of USCA as to 123 Notice of Appeal, filed by Charles
                    Oakley. USCA Case Number 21-2939. UPON DUE CONSIDERATION
                    WHEREOF, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that
                    the order entered on November 22, 2021, is VACATED and the case
                    REMANDED for further proceedings consistent with this Order.. Catherine
                    O'Hagan Wolfe, Clerk USCA for the Second Circuit. Certified: 4/25/2023..(nd)
                    (Entered: 05/05/2023)
 05/05/2023           Transmission of USCA Order to the District Judge re: 137 USCA Order,..(nd)
                      (Entered: 05/05/2023)
 05/18/2023     138 NOTICE OF APPEARANCE by Casey Kyung-Se Lee on behalf of James
                    Dolan(in his professional capacity), MSG Networks, Inc., MSG Sports &
                    Entertainment, LLC, The Madison Square Garden Company..(Lee, Casey)
                    (Entered: 05/18/2023)
 05/18/2023     139 NOTICE OF APPEARANCE by Lauren Kobrick Myers on behalf of James
                    Dolan(in his individual capacity), MSG Networks, Inc., MSG Sports &
                    Entertainment, LLC, The Madison Square Garden Company..(Myers, Lauren)
                    (Entered: 05/18/2023)
 05/26/2023     140 MANDATE of USCA (Certified Copy) as to 123 Notice of Appeal, filed by
                    Charles Oakley. USCA Case Number 21-2939. UPON DUE
                    CONSIDERATION WHEREOF, IT IS HEREBY ORDERED, ADJUDGED,
                    AND DECREED that the order entered on November 22, 2021, is VACATED
                    and the case REMANDED for further proceedings consistent with this Order.
                    Catherine O'Hagan Wolfe, Clerk USCA for the Second Circuit. Issued As
                    Mandate: 05/26/2023..(nd) (Entered: 05/26/2023)
 05/26/2023           Transmission of USCA Mandate to the District Judge re: 140 USCA
                      Mandate,..(nd) (Entered: 05/26/2023)
 05/30/2023     141 ORDER: In light of the Second Circuit's decision in Oakley v. Dolan, No. 21-
                    2939, 2023 WL 3263618 (2d Cir. May 5, 2023), IT IS HEREBY ORDERED
                    THAT the parties shall submit a joint letter proposing next steps in this case.




https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                           7/19/2023
SDNY CM/ECF NextGen Version 1.7                                                              Page 27 of 27
           Case 23-1039, Document 4, 07/17/2023, 3544119, Page27 of 27


                      To the extent the parties disagree on one or more issues, the parties should set
                      forth their respective positions as to each disputed issue in separately
                      designated sections of the joint letter. The letter shall be filed on the docket no
                      later than Friday, June 16, 2023. (Signed by Judge Richard J. Sullivan on
                      5/30/2023) Sitting by Designation. (ate) (Entered: 05/30/2023)
 06/13/2023     142 NOTICE OF APPEARANCE by Marjorie Mesidor on behalf of Charles
                    Oakley..(Mesidor, Marjorie) (Entered: 06/13/2023)
 06/13/2023     143 ORDER: Accordingly, because Oakley has failed to provide an objective basis
                    to support recusal, the Court is obliged to deny Oakleys motion. (Signed by
                    Judge Richard J. Sullivan on 6/13/2023) Sitting by Designation. (ate) (Entered:
                    06/13/2023)
 06/13/2023     144 LETTER addressed to Judge Richard J. Sullivan from Randy M. Mastro, Esq.
                    dated 6/2/2023 re: Opposing letter request from Plaintiff Charles Oakley's
                    counsel seeking recusal dated 6/1/2023 (Filed as directed by Order filed
                    6/13/23,ECF Doc No. 143). Document filed by James Dolan(in his
                    professional capacity), MSG Networks, Inc., MSG Sports & Entertainment,
                    LLC, The Madison Square Garden Company..(Mastro, Randy) (Entered:
                    06/13/2023)
 06/14/2023     145 LETTER addressed to Judge Richard J. Sullivan from Douglas H. Wigdor
                    dated June 1, 2023 re: Request for Recusal. Document filed by Charles
                    Oakley..(Wigdor, Douglas) (Entered: 06/14/2023)
 06/16/2023     146 JOINT LETTER addressed to Judge Richard J. Sullivan from Douglas H.
                    Wigdor dated June 16, 2023 re: Letter Proposing Next Steps Pursuant to Dkt.
                    No. 141. Document filed by Charles Oakley..(Wigdor, Douglas) (Entered:
                    06/16/2023)
 06/26/2023     147 ORDER: Accordingly, IT IS HEREBY ORDERED THAT Oakley's request
                    for a stay of the proceedings pending resolution of his contemplated petition
                    for a writ of mandamus is DENIED. IT IS FURTHER ORDERED THAT
                    Oakley shall file his motion to amend his complaint by July 24, 2023,
                    Defendants shall file their opposition brief by August 24, 2023, and Oakley
                    shall file his reply brief by September 15, 2023. IT IS FURTHER ORDERED
                    THAT discovery shall be stayed pending the Court's decision on Oakley's
                    motion to amend. ( Motions due by 7/24/2023., Replies due by 9/15/2023.,
                    Responses due by 8/24/2023) (Signed by Judge Richard J. Sullivan on
                    6/26/2023) Sitting by Designation. (ate) (Entered: 06/26/2023)




https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?616271411918382-L_1_0-1                               7/19/2023
